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                        GOVERNMENT
                               EXHIBIT 1
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Case: 1:13-cr-00844 Document #: 46-1 Filed: 01/04/21 Page 17 of 118 PageID #:786
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                                    EXHIBIT 3
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                         GOVERNMENT
                                 EXHIBIT 4
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                     GOVERNMENT
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                                                                                                                               C/M

              UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF NEW YORK

                  HOWARD E. LEVENTHAL,

                                                   Plaintiff,

                                      -against-

                  WINSTON M. PAES, MARY A.                                    MEMORANDUM
                  HANDELAND, LORETTA LYNCH,                                   DECISION AND ORDER
                  CHRISTOPHER DELZOTTO, LORRAINE
                  MARX, CHRISTINE KLOTZ, JANE                                 17 Civ. 2496 (BMC)
                  PROBST, CHARLES COLODNY, GENE
                  SCHENBERG, AMG THE FAMILY
                  DOCTORS, and ADVOCATE MEDICAL
                  GROUP,

                                                   Defendants.

              COGAN, District Judge.

                       Plaintiff Howard Leventhal, currently incarcerated in the Federal Correctional Institute in

              Pekin, Illinois, brings this pro se action pursuant to “the Constitution of the United States, the

              Bill of Rights, the 1st, 5th, 8th and 14th Amendments, 1 the Parental Kidnapping Prevention Act

              and Uniform Child Custody Jurisdiction Act (28 U.S.C. [§] 1738A), 28 U.S.C. [§] 1367, the

              Intercountry Adoption Act (42 U.S.C. [§] 14901), Bivens v. Six Unknown Named Agents [of

              Fed. Bureau of Narcotics, 403 U.S. 388 (1971)], Illinois State Law, Common Law of Torts[,] and

              other applicable law.” The Court grants plaintiff’s request to proceed in forma pauperis pursuant

              to 28 U.S.C. § 1915 for the purpose of this Order and dismisses the complaint for the following

              reasons.




              1
               Although Leventhal does not list 42 U.S.C. § 1983 by statute, his constitutional claims necessarily implicate
              § 1983 as it is the vehicle by which litigants vindicate their constitutional claims.




                                                                                                                               Dockets.Justia.com
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                                         BACKGROUND

       In October 2013, the United States Attorney for the Eastern District of New York, acting

through Assistant U.S. Attorney (“AUSA”) Winston Paes, the first-named defendant in this

action, unsealed a criminal complaint against Leventhal, charging him with wire fraud, in

violation of 18 U.S.C. § 1343, and aggravated identity theft, in violation of 18 U.S.C.

§§ 1028A(a)(1), 1028A(b), and 1028(c)(5).

       The complaint alleged that Leventhal, as the president or managing officer of several

entities, including mHealth Technologies Corp., formerly named Neovision USA, Inc. and

Heltheo, Inc., entered into certain financing agreements with investors on the basis of false

information, namely that his company had entered into a lucrative agreement with Health

Canada, the department of the Canadian government with responsibility for national public

health. To further his fraud, Leventhal provided the investors with a fraudulent agreement

between his company and Health Canada and fabricated bank statements showing millions of

dollars in transactions and payments from Health Canada.

       In December 2013, Leventhal pleaded guilty to both counts. Leventhal was released on

bail and subject to supervision in Chicago. On further investigation by the Government and after

a hearing in September 2015, the Court revoked Leventhal’s bail. The Government established

at the hearing that Leventhal, while out on bail and through an alias, had created a purported

non-profit entity, altered letters from elected officials, and used those letters to induce an investor

to invest tens of thousands of dollars, much of which were used for personal expenses.

       For a host of reasons, including the bail revocation and Leventhal’s decisions to proceed

counseled at times and pro se at others, Leventhal was not sentenced until December 2016, at

which time the Court sentenced him to a total of five years in federal custody. Now as a federal



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prisoner, he brings this lawsuit, principally against the AUSA that prosecuted him, in addition to

several other defendants, alleging a mass of charges.

                                           DISCUSSION

       The Prison Litigation Reform Act (the “PLRA”) requires a district court to screen a civil

complaint brought by a prisoner against a governmental entity or its agents and dismiss the

complaint, or any portion of the complaint, if the complaint is “frivolous, malicious, or fails to

state a claim upon which relief may be granted.” 28 U.S.C. § 1915A(b)(1); see also Liner v.

Goord, 196 F.3d 132, 134 & n.1 (2d Cir. 1999) (noting that, under the PLRA, sua sponte

dismissal of frivolous prisoner complaints is not only permitted but in fact mandatory).

Similarly, pursuant to the in forma pauperis statute, the Court must dismiss an action if it

determines that it “(i) is frivolous or malicious, (ii) fails to state a claim upon which relief may

be granted, or (iii) seeks monetary relief from a defendant who is immune from such relief.” 28

U.S.C. § 1915(e)(2)(B).

       A complaint must plead “enough facts to state a claim to relief that is plausible on its

face,” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007), and “allow[] the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009). “[A] pro se complaint, however inartfully pleaded, must be

held to less stringent standards than formal pleadings drafted by lawyers.” Erickson v. Pardus,

551 U.S. 89, 94 (2007) (internal quotation marks and citations omitted); see also Harris v. Mills,

572 F.3d 66, 72 (2d Cir. 2009). Thus, pro se complaints are “to be liberally construed,” Ahlers v.

Rabinowitz, 684 F.3d 53, 60 (2d Cir. 2012), and interpreted “to raise the strongest arguments that

they suggest,” Graham v. Henderson, 89 F.3d 75, 79 (2d Cir. 1996).




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        Plaintiff brings this action pursuant to several statutes and laws, alleging (i) the

unconstitutional denial of his right to intimate association with his adopted daughter;

(ii) deliberate indifference to his health, life, and safety; (iii) denial of due process; (iv) denial of

his right to privacy; (v) defamation; (vi) fraud; (vii) breach of contract; (viii) tortious

interference; and (ix) intentional infliction of emotional distress. In addition to the AUSA who

prosecuted him, Leventhal names as defendants the lead FBI agent who investigated him, the

former Attorney General, Leventhal’s ex-wife, his ex-wife’s mother and sister, his former

physician, and a band of characters who had the misfortune of knowing Leventhal and getting on

his bad side during the course of the criminal prosecution.

        Not only is the complaint frivolous on its face, but it is also a transparent attempt to

harass a wide variety of people, including individuals who have had to defend against

Leventhal’s abuse of the legal process in the past, including his ex-wife. In essence, the

complaint and Leventhal’s affidavit allege that the AUSA, in conspiracy with the other

defendants, orchestrated the above-named deprivations of Leventhal’s rights. In addition, he

seeks a court order modifying and enforcing his visitation rights with his adopted daughter.

        The details underpinning his frivolous conspiracy legal theory is nothing more than

Leventhal’s petty and irrational fury at the federal prosecutor who convicted him. But such

resentment cannot make up the basis of a claim alleging prosecutorial misconduct. It is well

established that a prosecutor acting “within the scope of his duties in initiating and pursuing a

criminal prosecution is immune from a civil suit for damages under § 1983.” Shmueli v. City of

New York, 424 F.3d 231, 236 (2d Cir. 2005) (internal quotations omitted). “Prosecutorial

immunity from § 1983 liability is broadly defined, covering virtually all acts, regardless of

motivation, associated with [the prosecutor’s] function as an advocate.” Hill v. City of New



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York, 45 F.3d 653, 661 (2d Cir. 1995) (internal quotations omitted). “A prosecutor is . . . entitled

to absolute immunity despite allegations of his knowing use of perjured testimony’ and the

‘deliberate withholding of exculpatory information,” because “[a]lthough such conduct would be

reprehensible, it does not make the prosecutor amenable to a civil suit for damages.” Shmueli,

424 F.3d at 237 (internal quotation marks omitted). Further, absolute immunity for prosecutorial

acts can be defeated only if the prosecutor is alleged to have acted in the complete absence of

jurisdiction, which is not the case here. Shmueli, 424 F.3d at 237.

       The Supreme Court, in finding that prosecutorial immunity is absolute, reasoned that

“suits against prosecutors for initiating and conducting prosecutions could be expected with

some frequency, for a defendant often will transform his resentment at being prosecuted into the

ascription of improper and malicious actions.” Burns v. Reed, 500 U.S. 478, 485 (1991)

(internal quotation marks omitted). This is exactly what has happened here. Leventhal has

funneled his resentment at getting caught, prosecuted, and convicted against the AUSA, without

regard to the facts that Leventhal pleaded guilty and even recognizes in his complaint (and at

sentencing) that he broke the law. Nowhere is Leventhal’s resentment more clear than in his

complaint where, in the same breath, he compares the massacre of indigenous Americans and

slavery as national mistakes “competing for top billing” with the decisions permitting the AUSA

to emigrate to the United States from South Asia, naturalize, get his law license, and become an

AUSA. The Court will not permit Leventhal to harass the prosecutor, the former Attorney

General, and the FBI agent who simply did their jobs. Prosecutorial immunity protects the first

two and qualified immunity, at a minimum, protects the FBI agent.

       Nor will the Court permit Leventhal to sue the witnesses against him, whether they bore

witness through their sentencing submissions, affidavits to the Court, or during hearings. See



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Rehberg v. Paulk, 566 U.S. 356, 367 (2012) (“[A] trial witness has absolute immunity with

respect to any claim based on the witness’[s] testimony.”).

       Once the Court excises those allegations relating to Leventhal’s sprawling prosecutorial

misconduct conspiracy, which are dismissed as baseless, frivolous, or barred by some form of

immunity, the remainder of the complaint relates to his custody battle with his ex-wife, which is

also dismissed. No matter how many inapplicable statutes Leventhal can marshal that touch on

adoption or children, the “domestic relations exception . . . divests the federal courts of power to

issue divorce, alimony, and child custody decrees.” Elk Grove Unified Sch. Dist. v. Newdow,

542 U.S. 1, 12 (2004), abrogated on other grounds by Lexmark Int’l, Inc. v. Static Control

Components, Inc., 134 S. Ct. 1377 (2014). And while there may be “rare instances . . . in which

it is necessary to answer a substantial federal question that transcends or exists apart from the

family law issue,” this is not one of those cases. Id. at 13. This case is just another attempt by

Leventhal to re-litigate a child custody order, with Leventhal seeking a “permanent order

enforcing and mandating the visitation and communication provisions under [the custody dispute

action], modified to suit [Leventhal’s] current status as a prison inmate,” in addition to family

counseling sessions with his daughter. The Court will not do that.

                                         CONCLUSION

       Accordingly, the complaint, filed in forma pauperis, is dismissed for failure to state a

claim. See 28 U.S.C. §§ 1915A(b), 1915(e)(2)(B). The Court has considered whether to grant

plaintiff further leave to amend his complaint and determines that amendment here would be

futile. See, e.g., Cuoco v. Moritsugu, 222 F.3d 99, 112 (2d Cir. 2000) (finding leave to replead

futile where the complaint, even when read liberally, did not “suggest[] that the plaintiff has a

claim that she has inadequately or inartfully pleaded and that she should therefore be given a

chance to reframe”).

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       The Clerk is directed to enter judgment, dismissing the complaint. The Court certifies

pursuant to 28 U.S.C. § 1915(a)(3) that any appeal from this Order would not be taken in good

faith, and therefore in forma pauperis status is denied for purpose of an appeal. See Coppedge v.

United States, 369 U.S. 438, 444-45 (1962).

SO ORDERED.


                                              Digitally signed by Brian M. Cogan
                                                                  U.S.D.J.
 Dated:   May 9, 2017
          Brooklyn, New York




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                 GOVERNMENT
                        EXHIBIT 6
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                                  Affidavit of Mary Handeland



Comes now the undersigned, Mary Handeland and states as follows:

   1. I am over the age of 21 years and I reside in the State of Wisconsin.

   2. I was married to Howard Leventhal in 1999. We divorced in 2008.

   3. I am the adoptive mother of our daughter, Amelia J. Handeland.

   4. On June 21, 2019, The State of Wisconsin, Circuit Court Ozaukee issued 2019-CV000220,

       an Injunction – Harassment on my behalf against Howard Leventhal. Exhibit A

   5. Section 9, of the Harassment Injunction, 2019-CV000220, outlines the following

       prohibited conduct: “The Respondent has used excessive litigation to harass and for no

       legitimate purpose. In Wisconsin the Respondent shall not commence litigation concerning

       the Petitioner without the consent of the Court. In other Jurisdictions the Respondent shall

       provide a copy of this Injunction to the Court at the time of commencement when the

       litigation concerns the Petitioner.”

   6. On May 18, 2020, the State of Wisconsin filed 2019-CM-000172 and issued one count of

       violating the Harassment- Retraining Order pursuant to Wisconsin State Statute

       813.127(7). Exhibit B

   7. On September 13, 2019, the State of Wisconsin filed 2019-CM-000312 and issued two

       counts of violating the Harassment- Retraining Order pursuant to Wisconsin State Statute

       813.127(7). Exhibit C

   8. On August 29, 2019, the State of Wisconsin filed 2019-CM-00032 and issued five counts

       of violating the Harassment- Retraining Order pursuant to Wisconsin State Statute

       813.127(7). Exhibit D
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 9. On July 30, 2019, Howard Leventhal moved to remove the decision of the Ozaukee County

    Circuit Court’s issuance of the Injunction to the Eastern District of Wisconsin., 2:19-cv-

    01100-LA Leventhal v. Handeland et al. This case was dismissed and remanded to the

    Ozaukee County Circuit Court. On October 29, 2019, Howard Leventhal filed an Appeal

    (2019AP002072) which was subsequently dismissed pursuant (Wisconsin) rule 809.83(2)

    on December 18, 2019. Exhibit E

 10. On February 2, 2018, Howard Leventhal filed a Federal complaint in the US District Court

    of Minnesota, later transferred to the Eastern District of Wisconsin, 2:2018-CV-00181,

    Leventhal v. Boline et al claiming damages of $5,324,400 and naming, my sister, my

    mother, my attorneys, an Ozaukee County Court Commissioner, Ozaukee County Judge,

    and other Ozaukee County Court officials and myself as defendants. On May 2, 2018, the

    Eastern District of Wisconsin issued an order dismissing the suit with prejudice as

    frivolous. Exhibit F

 11. On April 18, 2019, Judge Brian M. Cogan, Eastern District of New York issued a

    Memorandum Decision and Order in case 1:13-cr-00695, stating in part, “However,

    defendant has filed several other lawsuits – including one against the prosecutor in this

    case, see Leventhal v. Paes, No. 17-cv-2496 (E.D.N.Y) – and as was discussed in Paes and

    during defendant’s sentencing, plaintiff uses frivolous litigation as a weapon to harass the

    people who upset him. As is demonstrated below, the instant motions do not have any merit,

    but instead, serve as the next round of defendant’s relentless attempt to lash out at others

    through the judicial process.” Exhibit G

 12. On August 18, 2017, Howard Leventhal sent a letter to Ozaukee County Court

    Commissioner, Barry Boline. This letter states in part, “Set forth below is a set of



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    requirements and conditions that must be brought into effect by 7 pm 8/29. If these minimal

    conditions are not brought into effect by agreed order or any other method by 7pm on 8/29

    and not one minute later – I will irrevocably initiate a litigation campaign in federal and

    state court against Mary Handeland and all who support her inhumane actions in this

    matter. Such a campaign, if commences will commence on 8/30/17 and it will never end

    while I am alive.” Exhibit H

 13. On August 25, 2015, Judge Goldgar, in The United States Bankruptcy Court of the

    Northern District of Illinois, 1:2014cv02770, entered Disciplinary Proceedings and issued

    an Order Imposing Restriction on Future filings in the Bankruptcy Court in this District.

    Exhibit I

 14. On April 20, 2017, Howard Leventhal filed a complaint in the District Court of Central

    Illinois 17-1167. On April 26, 2017, the case was transferred to the Eastern District of

    New York, 1:17-cv-02496-BMC-LB Leventhal v. Paes et al. and damages of

    $9,771.894.51. Named defendants include my mother, my sister, the former AUSA in the

    EDNY, former Attorney General Loretta Lynch, myself, and others. On May 16, 2017,

    Judge Brian M. Cogan issued an order and stated the following, “Denied as frivolous. If

    defendant does not ceases filing frivolous motions, he is going to be enjoined from filing

    anything without leave of Court.” Exhibit J

 15. On March 30, 2009, Howard Leventhal filed 09 C 1929, to remove our divorce case from

    the Circuit Court of the Nineteenth Judicial Circuit Lake County, 05-D-808 to the Northern

    District of Illinois. On April 3, 2009, the District Court entered a Memorandum Option and

    Order, “…the district court lacks subject matter jurisdiction, and the case is ordered

    remanded to the state court system”. Exhibit K



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 16. On February 5, 2009, the Circuit Court of the Nineteenth Judicial Circuit Lake County

    Illinois granted a Preliminary Injunction in the divorce case, 05-D-808. The Preliminary

    Injunction states in part, “…the Court finds that the actions of Howard Leventhal in

    threatening to sue Mary Handeland in all 22 judicial circuits of the state of Illinois was

    intended to intimidate and to harass Mary Handeland.” Exhibit L

 17. On December 29, 2008, Howard Leventhal filed a complaint in the Northern District of

    Illinois, 1:08-cv-07374 Leventhal v. Handeland et al naming, my sister, my mother, my

    legal counsel, myself, and others as defendants. On January 20, 2009, the case was

    dismissed for lack of Jurisdiction. Exhibit M




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2020CM000172 Case Details in Ozaukee County                               https://wcca.wicourts.gov/caseDetail.html?caseNo=2020CM000172&co...
                  Case: 1:13-cr-00844 Document #: 46-1 Filed: 01/04/21 Page 44 of 118 PageID #:813


           Ozaukee County Case Number 2020CM000172 State of Wisconsin vs.
           Howard E Leventhal
             Case summary

                                                                        Case status
                                                                        Filed Only - Arrest warrant
                                                                        issued
             Filing date                    Case type                   05-19-2020 Leventhal,
             05-18-2020                     Criminal                    Howard E

                                            Address
                                            1205 Prairie Brook Drive
             Defendant date of birth        Unit D1, Palatine, IL       Branch ID                      DA case number
             11-04-1956                     60074                       2                              2020OZ000687


             Charges

                                                                        Prosecuting agency                          Printable version

             Responsible official           Prosecuting agency          attorney
             Cain, Steven M.                District Attorney           Sisley, Jeffrey A

             Defendant owes the court: $0.00
             Count no.        Statute            Description                                          Severity    Disposition
             1                813.125(7)         Violate/Harassment Restraining Order                 Misd. U



             Defendant


                 Defendant name                Date of birth            Sex                           Race
                 Leventhal, Howard E           11-04-1956               Male                          Unknown

                 Address (last updated
                 05-19-2020)
                 1205 Prairie Brook Drive
                 Unit D1, Palatine, IL         JUSTIS ID                Fingerprint ID
                 60074



             Court record


                 Date        Event                                                  Court official     Court           Amount
                                                                                                       reporter
                 05-19-2020 Arrest warrant issued for Leventhal, Howard E           Cain, Steven
                                                                                    M.
                             Additional text:
                             Emailed to Ozaukee County Sheriff's Dispatch


                 05-19-2020 Motion in limine




1 of 2                                                                                                                      12/28/2020, 11:31 AM
2019CM000312 Case Details in Ozaukee County                                https://wcca.wicourts.gov/caseDetail.html?caseNo=2019CM000312&co...
                  Case: 1:13-cr-00844 Document #: 46-1 Filed: 01/04/21 Page 45 of 118 PageID #:814


           Ozaukee County Case Number 2019CM000312 State of Wisconsin vs.
           Howard E Leventhal
             Case summary

                                                                        Case status
                                                                        Filed Only - Arrest warrant
                                                                        issued
             Filing date                     Case type                  09-16-2019 Leventhal,
             09-13-2019                      Criminal                   Howard E

                                             Address
                                             1205 Prairie Brook Drive
             Defendant date of birth         Unit D1, Palatine, IL      Branch ID                      DA case number
             11-04-1956                      60074                      2                              2019OZ001532

             Case(s) cross-referenced with this case
             2019CM000302


             Charges

                                                                        Prosecuting agency                         Printable version

             Responsible official            Prosecuting agency         attorney
             Cain, Steven M.                 District Attorney          Sisley, Jeffrey A

             Defendant owes the court: $0.00
             Count no.        Statute            Description                                          Severity   Disposition
             1                813.125(7)         Violate/Harassment Restraining Order                 Misd. U
             2                813.125(7)         Violate/Harassment Restraining Order                 Misd. U



             Defendant


                  Defendant name               Date of birth            Sex                           Race
                  Leventhal, Howard E          11-04-1956               Male                          Unknown

                  Address (last updated
                  09-13-2019)
                  1205 Prairie Brook Drive
                  Unit D1, Palatine, IL        JUSTIS ID                Fingerprint ID
                  60074

              Attorneys
                 Attorney name                                   Entered                          Withdrawn
                 Jansen, Bradley J                               09-16-2019                       01-08-2020




             Court record


                 Date         Event                                              Court official   Court reporter   Amount




1 of 3                                                                                                                     12/28/2020, 11:31 AM
2019CM000302 Case Details in Ozaukee County                                https://wcca.wicourts.gov/caseDetail.html?caseNo=2019CM000302&co...
                  Case: 1:13-cr-00844 Document #: 46-1 Filed: 01/04/21 Page 46 of 118 PageID #:815


           Ozaukee County Case Number 2019CM000302 State of Wisconsin vs.
           Howard E Leventhal
             Case summary

                                                                        Case status
                                                                        Filed Only - Arrest warrant
                                                                        issued
             Filing date                     Case type                  08-29-2019 Leventhal,
             08-29-2019                      Criminal                   Howard E

                                             Address
                                             1205 Prairie Brook Drive
             Defendant date of birth         Unit D1, Palatine, IL      Branch ID                      DA case number
             11-04-1956                      60074                      2                              2019OZ001269

             Case(s) cross-referenced with this case
             2019CM000312


             Charges

                                                                        Prosecuting agency                         Printable version

             Responsible official            Prosecuting agency         attorney
             Cain, Steven M.                 District Attorney          Sisley, Jeffrey A

             Defendant owes the court: $0.00
             Count no.        Statute            Description                                          Severity   Disposition
             1                813.125(7)         Violate/Harassment Restraining Order                 Misd. U
             2                813.125(7)         Violate/Harassment Restraining Order                 Misd. U
             3                813.125(7)         Violate/Harassment Restraining Order                 Misd. U
             4                813.125(7)         Violate/Harassment Restraining Order                 Misd. U
             5                813.125(7)         Violate/Harassment Restraining Order                 Misd. U



             Defendant


                  Defendant name               Date of birth            Sex                           Race
                  Leventhal, Howard E          11-04-1956               Male                          Unknown

                  Address (last updated
                  08-29-2019)
                  1205 Prairie Brook Drive
                  Unit D1, Palatine, IL        JUSTIS ID                Fingerprint ID
                  60074

              Attorneys
                 Attorney name                                   Entered                         Withdrawn
                 Jansen, Bradley J                               09-16-2019                      01-08-2020




             Court record




1 of 3                                                                                                                     12/28/2020, 11:30 AM
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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN

MARY HANDELAND
and AMELIA HANDELAND,

                        Petitioners,

        v.                                                       Case No. 19-C-1100

HOWARD LEVENTHAL,

                        Respondent.


                               DECISION AND ORDER
        On July 30, 2019, Howard Leventhal, proceeding pro se, 1 filed a notice of

removal in this case, a petition by Leventhal’s ex-wife Mary Handeland and their

daughter Amelia Handeland for a restraining order (harassment) against Leventhal in

the Ozaukee County Circuit Court. ECF No. 1; ECF No. 6-2. The state court held a

hearing on June 21, 2019 and issued a four-year injunction against Leventhal. ECF No.

6-2. In his notice of removal, Leventhal asserts that I have diversity jurisdiction because

the parties are diverse in citizenship and the amount in controversy exceeds $75,000.

ECF No. 1 at ¶ 3. Federal question jurisdiction under 28 U.S.C. § 1331, Leventhal

argues, is also appropriate based on a federal parental kidnapping statute and

violations of his federal due process and free speech rights resulting from a conspiracy

between the state court and the Handeland’s. Id. at ¶ 4. Mary and Amelia Handeland

moved to remand on August 27, ECF No. 5, a motion that I grant for the reasons below.




1A document filed pro se is “to be liberally construed.” Erickson v. Pardus, 551 U.S. 89, 94, 127 S. Ct.
2197, 167 L. Ed. 2d 1081 (2007) (quoting Estelle v. Gamble, 429 U.S. 97, 106, 97 S.Ct. 285, 50 L.Ed.2d
251 (1976)). I have done my best to give documents filed by Leventhal a liberal construction.



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                                      I. DISCUSSION

       The party invoking federal jurisdiction has the burden of establishing its

existence. Schmidt v. Waterstone Bank SSB, 753 F. App'x 414, 416 (7th Cir. 2019)

(citing Smart v. Local 702 Int’l Bhd. of Elec. Workers, 562 F.3d 798, 802–03 (7th Cir.

2009)). Courts also have their own “independent obligation” to determine whether

subject matter jurisdiction exists. Hertz Corp. v. Friend, 559 U.S. 77, 94, 130 S. Ct.

1181, 1193, 175 L. Ed. 2d 1029 (2010) (citing Arbaugh v. Y & H Corp., 546 U.S. 500,

514, 126 S.Ct. 1235, 163 L.Ed.2d 1097 (2006)).

       I do not have jurisdiction of this matter on the basis of diversity

jurisdiction. The amount in controversy to establish diversity jurisdiction must be

greater than $75,000. 28 U.S.C. § 1332(a). In his notice of removal, Leventhal says that

diversity is satisfied because the amount in controversy “exceeds $75,001 based upon

Leventhal’s counterclaims against Mary Handeland.” ECF No. 1 at ¶ 3. But the removal

statute, 28 U.S.C. § 1441(a), “does not permit removal based on counterclaims at all, as

a counterclaim is irrelevant to whether the district court had ‘original jurisdiction’ over the

civil action.” Home Depot U.S.A., Inc. v. Jackson, 139 S. Ct. 1743, 1748, 204 L. Ed. 2d

34 (2019). By asserting that his proposed counterclaims establish the amount in

controversy, Leventhal has failed to establish the existence of diversity jurisdiction.

       I do not have jurisdiction of this matter on the basis of federal question

jurisdiction, either. A defense based on the United States Constitution or federal law

does not make the suit removable, and neither does a counterclaim or other similar

filing based on federal law. Shannon v. Shannon, 965 F.2d 542, 545 (7th Cir. 1992)

(citing Louisville & Nashville Railroad v. Mottley, 211 U.S. 149, 29 S.Ct. 42, 53 L.Ed.



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126 (1908)) (emphasis added). See also Salton, Inc. v. Philips Domestic Appliances &

Pers. Care B.V., 391 F.3d 871, 875 (7th Cir. 2004) (“claims in a counterclaim cannot

confer federal jurisdiction over a case”). Thus, Leventhal cannot use his counterclaims,

defenses, or objections to the state court’s order, even if based on federal constitutional

rights such as free speech under the First Amendment, as a jurisdictional hook. Nor has

Leventhal shown that the claims presented in the initial state court filing otherwise “arise

under” federal law or implicate federal jurisdiction. As I wrote in the dismissal order in a

prior case that Leventhal brought before this court, 2 the Parental Kidnapping Prevention

Act, 28 U.S.C. § 1738B, cannot be enforced through a private cause of action. See

Thompson v. Thompson, 484 U.S. 174, 183 (1988). So, even if such a claim was

brought by the Handeland’s in state court, it would not confer federal jurisdiction.

          Leventhal also claims that the existence of a conspiracy between the state court

and the Handeland’s, one that violated his federal due process and free speech rights,

establishes federal jurisdiction. As outlined above, even if Leventhal had brought this as

a counterclaim pursuant to 42 U.S.C. § 1983, the vehicle for pleading the violation of

constitutional rights that Leventhal alleges, this could not confer federal jurisdiction as a

counterclaim. Further, no state official is even a party to this action and § 1983 claims

cannot be brought against private parties where no facts are pled that suggest

Leventhal’s ex-wife and daughter actually entered into an agreement with the state

court to deprive him of his rights. See Leventhal, 2018 WL 2063351 at *3 (merely using

the word “conspiracy” is not enough to adequately plead conspiracy for § 1983 claim).

Here, Leventhal alleges only that his ex-wife sought a restraining order, the court



2   See Leventhal v. Boline, 2018 WL 2063351, at *2 (E.D. Wis. May 2, 2018).

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granted such an order after a hearing, and that the state court is corrupt. ECF No. 1 at

¶¶ 5-21. This is not enough to conjure federal jurisdiction.

       Finally, even if I had subject matter jurisdiction here, I would be precluded from

exercising such jurisdiction by the Rooker–Feldman doctrine, which prevents district

courts from exercising jurisdiction over cases that are essentially appeals from state

court orders. See Lennon v. City of Carmel, Ind., 865 F.3d 503, 506 (7th Cir. 2017).

Rooker–Feldman applies to “cases brought by state–court losers complaining of injuries

caused by state-court judgments rendered before the district court proceedings

commenced and inviting district court review and rejection of those judgments.” Exxon

Mobil Corp. v. Saudi Basic Industries Corp., 544 U.S. 280, 284, 125 S.Ct. 1517, 161

L.Ed.2d 454 (2005). Such is the case here. The state court held a hearing on the

Handeland’s request for a harassment restraining order on June 21, 2019 that ended

with the court granting that request and issuing a four-year injunction order. ECF No. 6-

2. Subsequent to that order, Leventhal filed a motion for reconsideration in the state

court and then decided to file a notice of removal in this court. He now complains about

injuries caused by the court’s order, specifically the prohibition of contact with his

daughter and publishing criticism of his ex-wife online. It is clear that he wants this court

to review and reverse an adverse order like an appellate court would, even moving this

court for an order for mandatory mediation. ECF No. 4; ECF No. 9. Even if the state

court decision was incorrect, this case falls within the Rooker–Feldman doctrine which

would preclude exercising jurisdiction. See Lennon, 865 F.3d at 507 (Rooker–Feldman

applies where injuries for which an aggrieved party seeks redress resulted from a state

judgment, even if the judgment was wrong, unconstitutional or void). See also Young v.



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Murphy, 90 F.3d 1225, 1230 (7th Cir. 1996) (“litigants who feel a state proceeding has

violated their constitutional rights must appeal that decision through their state courts

and thence to the Supreme Court.”). I do not have jurisdiction over this matter and must

remand.

                                    II. CONCLUSION

THEREFORE, IT IS ORDERED that Mary and Amelia Handeland’s motion to remand

(ECF No. 5) is GRANTED and Leventhal’s outstanding motions (ECF No. 4, ECF No. 8,

ECF No. 9, ECF No. 10, ECF No. 11, ECF No.12) are DENIED as moot. This matter is

REMANDED to the Ozaukee County Circuit Court.

Dated at Milwaukee, Wisconsin, this 18th day of September, 2019.



                                                 s/Lynn Adelman___
                                                 LYNN ADELMAN
                                                 District Judge




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                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


HOWARD E. LEVENTHAL,
          Plaintiff,

       v.                                                Case No. 18-C-181

BARRY BOLINE,
MARY LOU MUELLER,
PAUL MALLOY,
OZAUKEE COUNTY CHIEF EXECUTIVE,
OZAUKEE COUNTY BOARD MEMBERS,
OZAUKEE CORPORATION COUNSEL,
MARY HANDELAND,
CHRISTINE KLOTZ,
LORRAINE MARX,
JANE PROBST,
KRISTINA EBBOTT, and
ELIZABETH GROESCHEL,
           Defendants.
______________________________________________________________________

                                 DECISION AND ORDER

       Plaintiff Howard E. Leventhal, a federal prisoner who is representing himself, filed

a complaint alleging claims against his ex-wife and a judge of the Ozaukee County,

Wisconsin, Circuit Court (among other defendants). This order resolves Leventhal’s

motion to proceed without prepayment of the filing fee and screens his complaint.

             Plaintiff’s Motion to Proceed without Prepayment of the Filing Fee

       The Prison Litigation Reform Act (“PLRA”) applies to this case because

Leventhal was incarcerated at the time he filed his complaint. The PLRA gives courts

discretion to allow plaintiffs to proceed with their lawsuits without prepaying the $350

filing fee, as long as they comply with certain requirements. 28 U.S.C. § 1915. One of

those requirements is that the plaintiff pay an initial partial filing fee. On March 6, 2018,




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Magistrate Judge David E. Jones ordered Leventhal to pay an initial partial filing fee of

$19.18. Leventhal paid this amount, and therefore I will grant his motion to proceed

without prepayment of the full filing fee. He must pay the remainder of the filing fee over

time in the manner I explain at the end of this order.

                            Screening of Plaintiff’s Complaint

        Federal law requires that I screen complaints brought by prisoners seeking

relief against a governmental entity or officer or employee of a governmental entity. 28

U.S.C. § 1915A(a). I must dismiss a complaint if the prisoner has raised claims that are

legally frivolous or malicious, that fail to state a claim upon which relief may be granted,

or that seek monetary relief from a defendant who is immune from such relief. 28

U.S.C. § 1915A(b).

       Leventhal alleges that, in 2002, he and his then-wife, defendant Mary Handeland,

adopted a child from China. The parties divorced in 2008, while they were domiciled in

Illinois. A state court in Lake County, Illinois, adjudicated the divorce and child-custody

matters. That court entered an order governing the parties’ rights to placement and

visitation with their child. Years later, Leventhal was convicted of the federal crimes for

which he is now in custody. He alleges that, both before and after he was imprisoned,

Handeland interfered with his visitation rights under the Lake County order.

       At some point, Handeland moved to Ozaukee County, Wisconsin, with her

daughter. In 2017, she filed a motion asking the Ozaukee County Circuit Court to take

jurisdiction of the custody case. Judge Paul Malloy of that court found that Ozaukee

County had jurisdiction over the custody matter because the child had resided in the

county for more than six months. Later, Leventhal filed a motion with the Ozaukee court

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asking for various forms of relief. On October 31, 2017, a court commissioner, Barry J.

Boline, denied these motions.

       On November 15, 2017, Leventhal commenced this action in the District of

Minnesota. On February 2, 2018, that court transferred venue to this court. When the

case arrived here, it was assigned to a magistrate judge. After the magistrate judge

determined that the case should be dismissed, the case was reassigned to me for entry

of a dispositive order.

       Leventhal asserts several claims against his ex-wife and Ozaukee court officials.

(He also sues other defendants, including members of his ex-wife’s family, his ex-wife’s

attorneys, and other Ozaukee County officials; however, his claims against these

defendants are so feeble that they can be dismissed without further discussion.)

Leventhal’s first claim is against his ex-wife. He alleges that she committed fraud during

the process of adopting their daughter from China and therefore violated the

Intercountry Adoption Act, 42 U.S.C. §§ 14901–14954. The remedy he seeks is to have

his ex-wife’s status as the child’s adoptive mother revoked. (Compl. at p. 11, ¶ 7.)

However, this is not a claim that exists under the Intercountry Adoption Act. The Act

states that it is not enforceable through private suits except as specifically provided

elsewhere in the Act. 42 U.S.C. § 14954. No specific provision of the Act gives an

adoptive parent a cause of action against another adoptive parent for fraud. Therefore,

this claim must be dismissed.

       Leventhal next asserts a series of claims based on the Ozaukee court’s

exercising jurisdiction over the custody case and denying his motions regarding

visitation and other matters. (Compl. at p. 12, ¶ 3 & pp. 20–21.) Leventhal alleges that,

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in exercising jurisdiction over the case, the Ozaukee court violated the Parental

Kidnapping Prevention Act, 28 U.S.C. § 1738B, which requires state courts to give full

faith and credit to the child-custody decrees of other state courts. See Thompson v.

Thompson, 484 U.S. 174, 183 (1988). However, the Parental Kidnapping Prevention

Act cannot be enforced through a private cause of action. Id. Therefore, to the extent

that Leventhal’s claims are based on this Act, they must be dismissed.

      Leventhal also asserts a claim against his ex-wife and Ozaukee court officials

under the Due Process Clause of the Fourteenth Amendment. He asserts that his ex-

wife’s involving the Ozaukee court in the custody dispute, and that court’s deciding to

exercise jurisdiction over the dispute, had the effect of denying him his parental rights,

which are protected by the Due Process Clause. More specifically, he alleges that the

Ozaukee court’s rulings in the case deprived him of visitation time with his daughter that

he would have received under the Lake County placement order. (Compl. pp. 16–18,

¶¶ 14–17.) In related claims, Leventhal alleges that the Ozaukee court officials who

entered the orders did so because they were biased against him because he is a man,

in violation of the Equal Protection Clause, and also because they wanted to punish him

for his federal crime, in violation of the Eighth Amendment. (Compl. at pp. 18–19, 19–

20 & 22–23.) He seeks damages under 42 U.S.C. § 1983.

      Here, I note that these claims raise questions under at least two jurisdictional

doctrines. The first is the domestic-relations exception, under which a federal court will

not exercise jurisdiction over child-custody disputes. See Struck v. Cook County Public

Guardian, 508 F.3d 858, 859–60 (7th Cir. 2007); Jones v. Brennan, 465 F.3d 304, 306–

08 (7th Cir. 2006). The second is the Rooker-Feldman doctrine, which prevents district

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courts from exercising jurisdiction over cases that are essentially appeals from state

court orders. See Lennon v. City of Carmel, Ind., 865 F.3d 503, 506 (7th Cir. 2017).

Although both of these doctrines might apply to this case, I will focus only on Rooker-

Feldman because it is dispositive.

      The Rooker-Feldman doctrine applies to “cases brought by state-court losers

complaining of injuries caused by state-court judgments rendered before the district

court proceedings commenced and inviting district court review and rejection of those

judgments.” Exxon Mobil Corp. v. Saudi Basic Industries Corp., 544 U.S. 280, 284

(2005).   That’s this case.   Before he filed his federal complaint, Leventhal lost the

dispute over the proper forum for the custody case. He now complains about injuries

caused by the Ozaukee court’s rulings, namely, the denial of visits with his daughter.

He has gone so far as to sue the court officials who signed the orders he complains

about. He argues that the Ozaukee court’s rulings were either wrong or unconstitutional

or void, and he seeks damages from the court officials. Because these claims fall within

the Rooker-Feldman doctrine, they must be dismissed for lack of jurisdiction.       See

Lennon, 865 F.3d at 507 (Rooker-Feldman applies whenever the injuries for which a

plaintiff seeks redress resulted from a state judgment, even if the state judgment was

wrong or unconstitutional or void).

      Even if I had jurisdiction over the § 1983 claims, I would have to dismiss them.

The Ozaukee County judge and the court commissioner who entered the orders that

Leventhal complains about clearly have absolute immunity from suits for damages.

See, e.g., Myrick v. Greenwood, 856 F.3d 487, 488 (7th Cir. 2017). To the extent

Leventhal’s ex-wife is a defendant to the § 1983 claims, the claims would have to be

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dismissed because she is a private party, not a person who acted under color of state

law, as required for liability under § 1983. See, e.g., West v. Atkins, 487 U.S. 42, 48

(1988). Leventhal contends that he may bring a § 1983 claim against his ex-wife based

on authority holding that a private party who conspires with the government to deprive a

plaintiff of his rights is deemed to act under color of state law. See, e.g., Cooney v.

Rossiter, 583 F.3d 967, 940 (7th Cir. 2009). But Leventhal has not come close to

alleging that his ex-wife conspired with Ozaukee court officials. True, he uses the word

“conspiracy,” but that’s not enough. Id. at 940–41. He must plead facts suggesting that

his ex-wife and the court entered into an agreement to deprive him of his rights. No

such facts appear in the complaint. Instead, Leventhal alleges only that his ex-wife

initiated a case in the Ozaukee court, and that the court decided certain matters in his

ex-wife’s favor. Because these allegations in no way suggest a conspiracy between

Leventhal’s ex-wife and court officials, Leventhal cannot proceed against his ex-wife

under § 1983.

       Leventhal also alleges a claim entitled “child prison visitation right denial.”

(Compl. at p. 19.) In this claim, Leventhal contends that the Constitution grants him a

right to visit with his child while in prison. Leventhal cites King v. Federal Bureau of

Prisons, 415 F.3d 634 (7th Cir. 2005), which was a case involving a constitutional

challenge to prison regulations. Leventhal seems to think that his ex-wife’s refusing to

bring the child to the prison for visits is itself actionable under cases such as King. But

of course it is not. If the prison were refusing to allow Leventhal’s ex-wife to bring the

child to the prison to see him, then Leventhal might have a claim against prison officials.

But cases such as King do not suggest that Leventhal’s ex-wife violated the Constitution

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by refusing to bring their child to the prison for visits in the first place. Again, Handeland

is a private party, not a state actor, and therefore cannot violate Leventhal’s

constitutional rights. Accordingly, this claim will be dismissed.

       The discussion above shows that Leventhal’s claims are frivolous, that is, that

they lack an arguable basis in law or fact. See Felton v. City of Chicago, 827 F.3d 632,

635 (7th Cir. 2016). And this is not the first time that Leventhal has filed a frivolous

federal complaint arising out of the child-custody dispute with his ex-wife. He filed a

prior suit in the Eastern District of New York alleging some of the same claims against

his ex-wife that he alleges here, including claims under the Intercountry Adoption Act

and the Parental Kidnapping Prevention Act. See Leventhal v. Paes et al., E.D.N.Y.

Case No. 17-cv-2496. The Eastern District of New York dismissed that suit as frivolous,

finding that the suit was “a transparent attempt to harass a wide variety of people . . .

including his ex-wife.” Order of May 10, 2017, at 4. It appears to me that the present

suit is an attempt by Leventhal to continue his campaign of harassment. For these

reasons, I will dismiss this suit with prejudice as frivolous, under 28 U.S.C.

§ 1915(e)(2)(B)(i). The dismissal will be with prejudice even though I dismissed some

of the claims for lack of subject-matter jurisdiction, which normally results in a dismissal

without prejudice. This is so because, when a suit is frivolous and intended to harass,

the court may dismiss it with prejudice to prevent the plaintiff from burdening another

court with the same frivolous suit. Georgakis v. Ill. State Univ., 722 F.3d 1075, 1078

(7th Cir. 2013).   Finally, I have considered granting Leventhal leave to amend his

complaint but will not do so because it is clear that he does not have any non-frivolous



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claims that could be asserted in federal court, and that granting leave to amend would

be futile. See Foman v. Davis, 371 U.S. 178, 182 (1962).

                                         Conclusion

       THEREFORE, IT IS ORDERED that plaintiff’s motion for leave to proceed

without prepayment of the filing fee (Docket No. 2) is GRANTED.

       IT IS FURTHER ORDERED that the complaint and this action are DISMISSED

with prejudice as frivolous.

       IT IS FURTHER ORDERED that the Clerk of Court document that Leventhal has

incurred a strike for purposes of 28 U.S.C. § 1915(g).

       IT IS FURTHER ORDERED that the agency having custody of the plaintiff shall

collect from his institution trust account the $330.82 balance of the filing fee by

collecting monthly payments from plaintiff's prison trust account in an amount equal to

20% of the preceding month's income credited to plaintiff’s trust account and forwarding

payments to the Clerk of Court each time the amount in the account exceeds $10 in

accordance with 28 U.S.C. § 1915(b)(2). The payments shall be clearly identified by the

case name and number assigned to this action. If plaintiff is transferred to another

institution, county, state, or federal, the transferring institution shall forward a copy of

this order along with plaintiff's remaining balance to the receiving institution.

       IT IS FURTHER ORDERED that a copy of this order be sent to the officer in

charge of the agency where plaintiff is confined.

       A dissatisfied party may appeal this court’s decision to the Court of Appeals for

the Seventh Circuit by filing in this court a notice of appeal within 30 days of the entry of

judgment. See Fed. R. of App. P. 3, 4. This court may extend this deadline if a party

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timely requests an extension and shows good cause or excusable neglect for not being

able to meet the 30-day deadline. See Fed. R. App. P. 4(a)(5)(A).

       Under certain circumstances, a party may ask this court to alter or amend its

judgment under Federal Rule of Civil Procedure 59(e) or ask for relief from judgment

under Federal Rule of Civil Procedure 60(b). Any motion under Federal Rule of Civil

Procedure 59(e) must be filed within 28 days of the entry of judgment. The court cannot

extend this deadline. See Fed. R. Civ P. 6(b)(2). Any motion under Federal Rule of Civil

Procedure 60(b) must be filed within a reasonable time, generally no more than one

year after the entry of the judgment. The court cannot extend this deadline. See Fed. R.

Civ. P. 6(b)(2).

       A party is expected to closely review all applicable rules and determine, what, if

any, further action is appropriate in a case.

       Dated in Milwaukee, Wisconsin, this 2nd day of May, 2018.



                                                    _s/Lynn Adelman__________
                                                    LYNN ADELMAN
                                                    United States District Judge




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                                                                                                                C/M
    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK
    -----------------------------------------------------------   X
                                                                  :
    UNITED STATES OF AMERICA,                                     :
                                                                  :
                                                                  :    MEMORANDUM DECISION
                           - against -                            :    AND ORDER
                                                                  :
                                                                  :    13-cr-0695 (BMC)
    HOWARD LEVENTHAL,                                             :    18-cv-3470 (BMC)
                                                                  :
                                    Defendant.                    :
                                                                  :
    -----------------------------------------------------------   X

COGAN, District Judge.
           Defendant has filed a motion for habeas corpus relief under 28 U.S.C. § 2255, which he

subsequently amended and supplemented, 1 a motion for “alternative relief,” and a motion to

“substitute” the Judge in his case. For the reasons below, each motion is denied.

                                                  BACKGROUND
           Defendant was the President, Chief Executive Officer, and Chief Technology Officer of

mHealth Technologies Corp., which developed technology for the mobile health industry.

           In 2012, defendant began contracting with “factoring” businesses to which he would sell

in exchange for cash fraudulent multi-million-dollar accounts receivable from Health

Canada – which is the department in the Canadian government with responsibility for its national

public health – related to a home health tablet that his company was developing. Defendant also

flouted his fake contracts with Health Canada to induce high net worth individuals and other

lenders to invest in his company. Over the course of the defendant’s scheme, he solicited at least


1
 Because of defendant’s pro se status, the Court does not construe the amended motion or its addendum to replace
his original motion under § 2255. Rather, the Court will consider the arguments that defendant raises in each filing.
The Court refers to the three filings together as defendant’s “amended motion.”
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$26 million from potential investors, and the actual loss that resulted from his fraud was more

than $1.3 million.

       Defendant was arrested on October 22, 2013, and on December 23, 2013, he pled guilty

to wire fraud (Count 1) and aggravated identity theft (Count 2) in violation of 18 U.S.C. §§ 1343

and 1028A(a)(1), respectively. Defendant’s Guidelines range for Count 1 was 87 to 108 months

and he faced a mandatory 24-month consecutive sentence on Count 2. On December 6, 2016, I

sentenced defendant to 36 months on Count 1 and 24 months on Count 2, to run consecutive, for

a total sentence of 60 months custody. I also ordered defendant to pay restitution of

$1,350,819.78.

       Defendant has been in custody since September 11, 2015, when I revoked his bond

because he violated several of its conditions, including by attempting to defraud an individual

out of $55,000 through false representations and omissions. Defendant has less than five months

left to serve on his 60-month sentence.

       Defendant filed a direct appeal with respect to one of the special conditions of supervised

release, but he subsequently withdrew that appeal. Defendant has not otherwise filed a direct

appeal of his sentence, although in his district of confinement, he has (unsuccessfully) filed a

motion for habeas corpus relief under 28 U.S.C. § 2241 to challenge, among other things, some

of the conditions of his confinement related to his medical care. See Leventhal v. Rios, No. CV

17-5441, 2018 WL 3129004, at *2 (D. Minn. June 26, 2018).

       However, defendant has filed several other lawsuits – including one against the

prosecutor in this case, see Leventhal v. Paes, No. 17-cv-2496 (E.D.N.Y) – and as was discussed

in Paes and during defendant’s sentencing, plaintiff uses frivolous litigation as a weapon to




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harass the people who upset him. 2 As is demonstrated below, the instant motions do not have

any merit, but instead, serve as the next round of defendant’s relentless attempt to lash out at

others through the judicial process.

                                                 DISCUSSION
    I.       Recusal Motions
         After filing his amended motion for habeas relief and motion for alternative relief,

defendant filed a motion to “substitute” the Judge in his case. I construe this as a motion for

recusal. This motion is denied.

         Defendant has self-designated his amended motion for habeas relief an “emergency”

motion and has asked me to recuse myself if my “bandwidth” does not allow me to treat his

amended motion as an emergent matter. Defendant is similarly situated to every other federal

prisoner who has filed motions for the same relief. I will not prioritize defendant just because he

thinks his case is more important than the rest, nor will I recuse myself just because I did not

address defendant’s several motions on his preferred timeline.

         Part of defendant’s amended motion also requests that I recuse myself, claiming that I

harbor a personal animus against defendant. In support of his argument, defendant includes a

laundry list of his non-criminal conduct that was discussed during sentencing and assumes that I

am prejudiced against him because of that conduct. Defendant’s assumption is wrong. During

sentencing, I must necessarily consider a defendant’s other criminal and non-criminal conduct.

This is not only routine, but consideration of each defendant’s history and characteristics is


2
  Defendant also has a pending appeal in the instant case. He has appealed this Court’s denial of his motion for a
reduction of sentence under the First Step Act, Pub. L. No. 115-391 § 603 (2018), and to compel decision on some
of the motions that are the subject of this decision. Defendant’s motion for a reduced sentence also stated that if
defendant received the relief sought, he would withdraw his § 2255 motion. This latter, provisional “offer” caused
his appeal to be labeled as being from a decision on a § 2255 motion, and this Court therefore was contacted by the
Second Circuit Clerk to grant or deny a certificate of appealability. We have explained to the Clerk that since none
of this Court’s prior orders before this one disposed of defendant’s § 2255 motion, there was no ability to grant or
deny a certificate of appealability.

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statutorily required. See 18 U.S.C. § 3553(a). I have no doubt in my ability to hear and

determine defendant’s case in an impartial manner, see generally 28 U.S.C. § 455, so I will not

recuse myself from deciding his motion.

   II.      Amended Motion for Habeas Relief
         Under 28 U.S.C. § 2255(a), a federal prisoner may claim the right to be released if their

sentence was “imposed in violation of the Constitution or laws of the United States, or [if] the

court was without jurisdiction to impose such sentence, or [if] the sentence was in excess of the

maximum authorized by law, or is otherwise subject to collateral attack.” Generally, “claims not

raised on direct appeal may not be raised on collateral review unless the defendant shows cause

and prejudice.” Massaro v. United States, 538 U.S. 500, 504 (2003). But claims of ineffective

assistance of counsel can be raised for the first time in a § 2255 motion. See id.

         Defendant raises several issues in his amended motion for habeas relief. For the reasons

below, each point that defendant makes fails.

         A. Conditions of Confinement
         Defendant contends that the conditions of his confinement violate the Eighth Amendment

for two reasons. First, defendant argues that his confinement has severed his relationship with

his daughter and deprived him of his “parental authority,” because he has not seen his daughter

in three years or spoken to her in two years. Defendant also argues that the Bureau of Prisons

(“BOP”) has denied him necessary medical care for a pre-existing medical condition that

defendant had when I sentenced him.

         Neither of these claims are cognizable on a § 2255 motion. That is because release from

prison is not an appropriate remedy for either of these alleged constitutional violations. Cf.

Jiminian v. Nash, 245 F.3d 144, 146-47 (2d Cir. 2001) (“A motion pursuant to § 2241 generally

challenges the execution of a federal prisoner’s sentence, including such matters as . . . prison

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conditions. In contrast, § 2255 is generally the proper vehicle for a federal prisoner’s challenge

to his conviction and sentence.”).

         Because of this, the venue for defendant’s challenge to the conditions of his confinement

is only proper in the District of Minnesota, because that is where he is confined. 3 See Rumsfeld

v. Padilla, 542 U.S. 426, 443 (2004) (“The plain language of the habeas statute thus confirms the

general rule that for core habeas motions challenging present physical confinement, jurisdiction

lies in only one district: the district of confinement.”).

         The same is true for defendant’s related argument that his due process rights were

violated because I sentenced him under the belief that the BOP would be able to provide him

with adequate medical care and it has not. This is just another way of making the same

argument – that his conditions of confinement violate the Eighth Amendment – which cannot be

raised in a § 2255 motion.

         B. Prosecutorial Misconduct
         Defendant argues that the prosecutor in his case engaged in several forms of misconduct.

First, defendant claims that the prosecutor did not disclose his “knowledge” that the BOP would

not adhere to defendant’s medical care plan; second, the prosecutor did not forward internally

defendant’s FOIA request seeking communications between the prosecutor and the BOP; and

third, the prosecutor did not produce pursuant to a second FOIA request his communications

with defendant’s ex-wife which defendant claims would have shown she was blackmailed into

making the statements she made during defendant’s sentencing.

         The first argument is frivolous. The prosecutor has no control over the conduct of the

BOP. Although defendant contends that the prosecutor must have thrown away the care plan


3
 I take judicial notice of the fact that defendant is being held at the Duluth FPC in Duluth, Minnesota. See
https://www.bop.gov/inmateloc/ (last visited April 15, 2019).

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created by an examining physician in advance of sentencing, defendant’s relief is once again

against the warden in an action under § 2241 in the District of Minnesota for a failure to provide

defendant with adequate medical care. If defendant disagreed with the outcome of his prior

§ 2241 action in that court, his avenue of relief was to file an appeal, not raise his claims in this

court in a § 2255 action.

       As for the second and third arguments, I have already addressed defendant’s FOIA

requests when I dismissed his related lawsuit. See Leventhal v. Paes, 16-cv-3677 (E.D.N.Y. July

27, 2016). Defendant’s avenue of relief was on direct appeal of that decision, not a § 2255

motion about his unrelated criminal matter. Moreover, these allegations are nothing but

conjecture and do not merit additional discussion.

       Defendant also claims that a federal agent “terrorized” defendant’s doctor and threatened

him into making false statements in a medical opinion and that the prosecutor called federal

Bankruptcy Judge Goldgar and “goaded” Judge Goldgar into “hyper-inflating and exaggerating”

one of his opinions, which included a finding that defendant uses litigation as a retaliatory

weapon and was discussed at defendant’s sentencing (which, of course, defendant contends it

should not have been). Defendant includes no evidence to support these contentions, so I will

not address them any further.

       Finally, defendant claims that the Presentence Investigation Report (“PSR”) was wrong

to represent that the BOP has the resources to provide mental health treatment to defendant while

he is incarcerated. Once again, this is not the responsibility of the prosecutor. Defendant must

bring his claim against the warden who is holding him under conditions that defendant claims

violate the constitution.




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       C. Breach of Plea Agreement
       Defendant claims that the Government breached the condition in the parties’ plea

agreement that the Government would not seek to invalidate points for defendant’s acceptance of

responsibility in his Guidelines calculation. Under the plea agreement, the Government agreed

not to take a position concerning where within the Guidelines range defendant’s sentence should

fall and that it would not make a motion for an upward departure from that range. But the plea

agreement also provided that that if defendant subsequently engaged in conduct that was relevant

to sentencing, the Government would not be bound by those provisions. The plea agreement

also provided that if defendant violated any provision of the agreement, the Government would

be relieved of its obligations, explicitly including its obligation to move for a downward

adjustment for acceptance of responsibility.

       Because defendant attempted to defraud an individual of $55,000 while he was out on

bond, it seems clear that the Government did not breach the plea agreement, but rather, it was

relieved of its obligations by the terms of that contract because of defendant’s breach.

       D. Ineffective Assistance of Counsel
       Defendant claims that his defense counsel was constitutionally ineffective. To raise a

meritorious ineffective assistance of counsel claim under Strickland v. Washington, 466 U.S. 668

(1984), defendant must show two things: first, that defense counsel’s performance was deficient

(by identifying acts or omissions that considered under all the circumstances were “outside the

wide range of professionally competent assistance”), and second, that counsel’s deficient

performance prejudiced his defense (by showing that “there is a reasonable probability that, but

for counsel’s unprofessional errors, the result of the proceeding would have been different”).

Bennett v. United States, 663 F.3d 71, 84 (2d Cir. 2011) (quoting Strickland, 466 U.S. at 690-



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94). As the Second Circuit has explained, this is a “highly demanding” and “rigorous” test. See

id. (internal citations omitted).

         Defendant has challenged several of defense counsel’s decisions, actions, and omissions.

As a general matter, it appears that defendant takes issue with the fact that counsel conducted

himself according to the law as it is written, rather than the law that defendant wants to be in

place. My findings as to each of defendant’s challenges are as follows.

         •   Counsel’s revelation to defendant (allegedly in violation of a court order) that
             defendant’s ex-wife was the Government’s confidential witness at defendant’s bond
             revocation hearing has nothing to do with the sentence defendant is challenging, nor
             could this knowledge have prejudiced defendant in any way with respect to the
             outcome of his sentencing.

         •   Counsel’s failure to move for specific performance of the plea agreement after the
             Government asked me to withhold points for acceptance of responsibility in
             defendant’s Guidelines calculation did not prejudice defendant, because as the
             transcript of defendant’s sentencing reflects, counsel did address specific performance
             of the plea agreement. Moreover, I expressly considered points for acceptance of
             responsibility and found on my own review of the facts that defendant’s post-plea
             conduct made it clear that he had not accepted responsibility, so he was not entitled to
             an adjustment for that. For the same reason, I would not have required specific
             performance of the plea agreement, because defendant himself breached it when he
             committed a fraud while out on bond.

         •   Counsel’s failure to assert the applicability of Rule 5K2.0(a) 4 of the United States
             Sentencing Guidelines (“USSG”) was not deficient performance nor did it have a
             prejudicial effect on the outcome, because during sentencing, I considered extensively
             the evidence of mitigating factors in defendant’s case, and defendant has not
             indicated what other facts or circumstances to which counsel should have pointed that
             were not taken into consideration by the USSG and that would have warranted a
             further downward departure from the Guidelines range.

         •   Counsel’s failure to access the Medical Information Bureau database, which
             defendant argues would have proven that defendant’s medical condition exists, was


4
 Defendant also challenges counsel’s failure to assert the applicability of Rule 5K2.0(b), but because that sub-
section of the rule applies to downward departures in child crimes and sexual offenses, it was clearly appropriate for
counsel not to address it during sentencing.

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           not deficient nor did it have a prejudicial effect on the outcome because there is and
           has never been a dispute about the existence of defendant’s medical condition, so
           there was no need for additional proof on the matter. I very carefully considered
           defendant’s serious medical condition and it was an important factor in his
           sentencing – had he been healthy, I have no question his sentence would have been
           higher.

       •   Counsel’s refusal to serve a subpoena on the BOP for anonymous medical records of
           10 random inmates with a similar medical condition to defendant was not deficient
           because there is no showing that a random selection of inmates’ medical records
           would have altered the Court’s reliance on the representations that the BOP could
           appropriately treat an individual with defendant’s medical condition. These
           representations were not taken at face value, as defendant claims. Defendant was
           evaluated by an accredited medical professional who opined that the BOP could
           adequately care for an inmate in defendant’s position. Moreover, I would have
           quashed this subpoena as unduly burdensome and irrelevant to the sentencing
           proceeding.

       •   Counsel’s failure to object to what defendant calls a separation of powers
           violation – which purportedly occurred when the prosecutor dictated to the Probation
           Department what should go in defendant’s PSR – was not deficient performance nor
           did it prejudice the outcome. Although defendant characterizes unidentified
           communications between the prosecutor and Probation as a “mandate” regarding the
           $26 million intended loss figure, there is no evidence to suggest such an “order”
           occurred (or was obeyed). The prosecutor has no legal or practical authority to
           compel the Probation Department to take any position on anything – the Probation
           Department works for the Court, not the Government – and I have seen too many
           cases to count where they disagreed. This was not one of them. Moreover, as the
           statement of reasons explains, I felt that the intended loss figure skewed the
           Guidelines range too high and sentenced defendant well below that range as a result.

       •   Counsel’s failure to move for an evidentiary hearing on other relevant conduct and
           the 18 U.S.C. § 3553(a) factors was not deficient, as evidenced by the fact that I
           denied a similar motion that defendant filed himself. Moreover, because defendant
           does not include in his § 2255 motion who the witnesses would have been or to what
           they would have testified, he has not shown that this failure prejudiced him in any
           way.

       •   Counsel’s conduct of purportedly shipping defendant’s personal records “into a black
           hole,” and deliberately destroying his personal property are not cognizable through a
           § 2255 motion because these are personal items and are in no way relevant to or

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           otherwise prejudice defendant’s case. (The same is true for defendant’s related
           argument that counsel failed to raise as a mitigating factor at sentencing the fact that
           defendant “was deprived of every last article of personal property” because of his
           bond revocation hearing.)

       •   Counsel’s failure to object at defendant’s bond revocation hearing to the
           inadmissibility of audio recordings of “interrogations” taken after defendant was
           arrested was not deficient, because defendant has not explained the circumstances
           surrounding these “interrogations” and a review of the record suggests that the only
           tape played was one recorded by the individual whom defendant attempted to defraud
           (and not a member of law enforcement). Defendant has not shown his Fourth
           Amendment rights were implicated.

       •   Counsel’s failure to assert the “harshness” of defendant’s presentence confinement in
           the Metropolitan Detention Center as a factor for me to consider in sentencing under
           § 3553(a) was not deficient because a review of the transcript of the sentencing
           proceeding reveals that counsel did in fact raise this issue. It was addressed in
           conjunction with defendant’s medical condition as a mitigating factor warranting a
           variance from the Guidelines range and in conjunction with how defendant would be
           treated while incarcerated.

       •   Counsel’s failure to find and bring to my attention during sentencing cases of other
           criminal defendants who committed similar crimes as defendant who were sentenced
           to less time was neither deficient nor prejudicial because defendant had the benefit of
           a fulsome sentencing hearing, prior to which the parties made several submissions on
           a myriad of issues and considerations. Sentencing a criminal defendant is necessarily
           an individualized endeavor, and this is particularly true in defendant's case because of
           several unique personal characteristics. Although I have an obligation to avoid
           unnecessary disparities in sentencing, defendant’s unique facts and circumstances can
           certainly warrant a different – or longer – sentence than those imposed on other
           white-collar criminals (especially considering defendant continued to commit crimes
           while he was out on bond). Just because defendant disagrees with my decision does
           not mean his counsel was deficient for failing to mention every single instance in
           which a white-collar criminal was sentenced to less time than defendant, or that I
           would have sentenced defendant to less time if those cases had been cited to me.

       •   Counsel’s failure to object to venue during sentencing was not deficient, because
           defendant admitted during his plea allocution that as a part of his fraudulent scheme,
           defendant sent a fake contract to a federal agent located in Brooklyn.




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       •   Counsel’s decision to edit the mitigation report submitted in advance of sentencing,
           specifically counsel’s decision to remove “further elaboration on” defendant’s post-
           traumatic stress disorder (“PTSD”) diagnosis and “discussion of” defendant’s father’s
           death, which defendant claims triggered his criminal conduct, does not fall outside the
           realm of acceptable professional conduct, nor did it prejudice the outcome of
           defendant’s sentencing proceeding. Defendant’s own sentencing memorandum
           brought these issues to the attention of the Court, and defendant cannot challenge
           counsel’s strategic decision of how much to emphasize any given point in his own
           submission. (For the same reason, defendant’s related argument that counsel’s failure
           to ensure that I was fully aware of the “triggering” nature of his father’s death fails to
           rise to the level of either deficient performance or prejudicial effect under Strickland.)

       •   Counsel’s failure to object during sentencing to my purported statement that
           defendant “has a serious medical condition which may require immediate response”
           was not deficient because the transcript shows that I never said that. I assume that
           defendant is referring to my consideration of his “very serious medical condition” as
           a mitigating factor in determining the appropriate length of his sentence, but there can
           be no ambiguity – as is the basis for defendant’s argument here – that I was referring
           to defendant’s known medical condition in that instance, so there was no need for
           counsel to object.

       •   Counsel’s failure to file “formally captioned or formatted motion[s] or statement[s] of
           objections” did not prejudice defendant, because I considered every document filed,
           whether or not it was formatted in the manner defendant thinks it should have been.

       •   Counsel’s failure to bring to my attention “widespread BOP medical incompetence”
           could not have prejudiced defendant because there was extensive discussion and
           consideration of his medical condition and whether the BOP could treat him during
           incarceration.

       •   Counsel’s failure to file a post-judgment motion for defendant’s admittance into the
           Residential Drug Abuse Program has nothing to do with the constitutionality of
           defendant’s sentence, so it cannot be raised in a § 2255 motion. (The same is true for
           defendant’s argument that counsel knew about but failed to inform defendant of the
           BOP’s alleged violations of the Second Chance Act’s mandates regarding halfway
           houses and home confinement. Defendant states that had he known of these
           violations he would have filed his § 2255 motion sooner, but the BOP’s alleged
           conduct at large has nothing to do with defendant’s sentence, so the timing of his
           motion does not matter at all with respect to this argument.)




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       •   Counsel’s failure to object to a victim letter provided by Gene Schenberg – despite
           allegedly having knowledge that Mr. Schenberg is a “professional victim,” embezzled
           $100,000 from defendant’s company, is a disgruntled former employee, and is an
           “outlier and a nutcase” – was not deficient because defendant provides no support for
           the truth of any of these statements. Moreover, defendant has not shown how
           counsel’s failure to object to one victim statement would have prejudiced the
           outcome, given that the intended loss amount was calculated at over $26 million and
           actual loss was calculated at $1.3 million.

       •   Counsel’s failure to inform me that, after one of defendant’s fellow inmates filed a
           character reference letter on his behalf, the prosecutor called the inmate’s lawyer and
           threatened him with “amplified punishment” unless he submitted a false letter
           claiming that his first letter was not authentic was not deficient because there is no
           evidence that this happened. Nor, for that matter, does it have anything to do with the
           constitutionality of defendant’s sentence.

       •   Counsel’s failure to object to the fact that I purportedly did not consider defendant’s
           PTSD at sentencing and counsel’s failure to assert that his PTSD warranted a
           downward departure under USSG § 5K2.0 was neither deficient nor prejudicial,
           because all of defendant’s medical concerns were raised and given adequate
           consideration during the sentencing process.

       •   Counsel’s failure to object to my purported use of the tem “narcissist” during
           sentencing was not deficient because a review of the transcript reveals that that I
           mentioned that one of defendant’s own experts concluded that defendant has
           narcissistic tendencies, which is a fact from the record and not my own
           characterization. In any event, it is not error for a court, in evaluating a defendant’s
           history and characteristics, to note such tendencies, with or without an expert report.

       •   Counsel’s failure to raise as a mitigating factor during sentencing the fact that
           defendant must go through the process of exhausting his administrative remedies with
           the BOP before seeking judicial relief to resolve inmate issues was not deficient
           because that is the law, well known to this Court.

       •   Counsel’s failure to follow up on defendant’s offer to the Government to act as a
           cooperating witness to “entrap likely terrorists,” despite the fact that the prosecutor
           seemed “willing[] to listen,” has nothing to do with defendant’s sentence and is not
           cognizable on his § 2255 motion.

       •   Counsel’s failure to object to my intrusion on defendant’s parental rights (and by
           extension, the interference with his ability to spend time with his daughter) during
           sentencing was not deficient performance (or any type of violation of defendant’s
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           right to intimate association as a parent with his daughter) because it is the result of
           defendant’s own decisions to engage in criminal conduct. Defendant committed a
           serious crime. He knew or should have known that he could be incarcerated as a
           result. Incarceration necessarily interferes with familial relationships. Defendant
           must deal with the consequences of his actions like any other defendant.

       •   Counsel’s failure to object to my “erroneous dismissal” of defendant’s separate FOIA
           lawsuit at sentencing has nothing to do with defendant’s sentence or the case in which
           counsel represented defendant, so it cannot provide the basis for an ineffective
           assistance of counsel claim here.

       •   Counsel’s failure to bring to my attention defendant’s proposed alternative electronic
           means of deterrence, which defendant claims would have prevented him from
           committing additional crimes, was not deficient nor did it have a prejudicial effect on
           his sentence, because defendant does not explain these alternative means of
           deterrence. Moreover, whatever they are, they would not have adequately reflected
           the fact that defendant committed a serious crime for which incarceration was an
           appropriate and necessary punishment.

       •   Counsel’s failure to investigate the testifying agent’s allegedly false statements that
           he made under oath during defendant’s bond revocation hearing was not deficient nor
           did it prejudice the outcome, because defendant provides nothing other than his
           assertion that the facts to which the agent testified were false, and because defendant
           cannot show that counsel did not investigate these matters in ways other than by
           calling the individuals identified in the agent’s testimony (as defendant suggests he
           should have done).

       •   Counsel’s failure to inform me that the Government was allegedly monitoring
           defendant’s privileged attorney-client communications with counsel (an accusation
           which is supported only by defendant’s own sworn affidavit attached to his amended
           motion) has nothing to do with the constitutionality of his sentence and is not
           properly raised here.

       •   Counsel’s failure to raise the fact that defendant would frequently soil himself while
           in custody and suffer embarrassment in front of other inmates as a result, as well as
           counsel’s failure to document approximately 60 (unspecified) instances where
           defendant was denied medical care, was neither deficient nor prejudicial because
           counsel, the Government, and I addressed at length defendant’s medical condition
           and the BOP’s ability to provide him with adequate care while incarcerated before
           and during sentencing. Defendant’s complaint is against the warden holding him, not
           counsel. In addition, I specifically took the hardship that imprisonment would cause


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            defendant because of his medical condition into account when I sentenced him,
            including the specific manifestation to which he refers.

        •   Counsel’s failure to “more energetically” object to what defendant characterizes as
            my failure to explore his ex-wife’s grudge against him was neither deficient nor
            prejudicial because defendant’s family structure and history were considered at length
            during sentencing. Moreover, defendant’s qualm seems to be with the fact that he
            was not given a moment to interact with his daughter, allegedly because his ex-wife
            questioned his ability to be a good father, but that has nothing to do with the
            constitutionality of defendant’s sentence, so it is not relevant here.

        •   Counsel’s failure to raise the fact that defendant would be transported to custody by
            the “BOP’s standard ‘Con-Air’ meat grinder” was neither deficient nor prejudicial
            because counsel has no control over the BOP, and more importantly, because this
            issue was raised and addressed during sentencing. Counsel went above and beyond
            that which was constitutionally required of him with respect to advocating for
            defendant’s medical care and treatment while in custody.

        •   Counsel’s failure to raise during sentencing the “force majeure effect of the 2008
            market crash” on the need for defendant to commit the crimes that he did was not
            deficient because the economic crash impacted the entire country, and it was by no
            means an excuse to commit fraud.

        •   Counsel’s failure to raise as a mitigating factor defendant’s “overwhelming volumes
            of evidence” that the Attorney General has relinquished control over the BOP, which
            is now in control of the BOP’s labor union, has nothing to do with the
            constitutionality of his sentence and is not properly raised in this motion, because
            defendant’s objection relates to the BOP’s purported refusal to use halfway houses.

        E. Venue
        Defendant argues that venue was improper in this case. Rather than the Eastern District

 of New York, defendant claims that his case should have been heard in the Northern District of

 Illinois, because adjudicating his case in this district severed his ability to have a relationship

 with his daughter.

        Defendant waived his right to challenge venue in his plea agreement when he agreed not

 to file an appeal or otherwise challenge his sentence I imposed a sentence of 132 months or



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 below. 5 He therefore cannot raise this claim in his § 2255 motion (nor, for that matter, can he

 raise it for the first time under § 2255, because it is procedurally barred for having not been

 raised first on direct appeal).

          Even assuming, however, that defendant could raise this issue in his § 2255 motion, it has

 no merit because defendant admitted during his plea allocution that:

          In furtherance of my financing efforts, I made use of the interstate wires, which
          included sending an e-mail to an undercover FBI agent in the Eastern District of
          New York that attached bogus agreements between my company and Health
          Canada for the mobile electronic medical tablet. On the bogus contracts I sent, I
          forged the signature of Glenda Yeates, the Canadian Deputy Health Minister, at
          the time, which I did without her permission or lawful authority.”

 I even followed up with defendant and asked, “The question is, in connection with this fraud did

 you mail any documents to Brooklyn?” Defendant confirmed, after speaking with his lawyer

 (different from his counsel at sentencing), that he e-mailed documents to Brooklyn.

          According to defendant’s own version of events – which he stated under oath – venue

 was proper in the Eastern District of New York. See Fed. R. Crim. P. 18.

          F. Sentence Disparities
          Defendant argues that his sentence was erroneous in light of United States v. Klein, No.

 11-CR-255, 2011 WL 6779309 (E.D.N.Y. Dec. 27, 2011), in which Judge Weinstein sentenced a

 criminal defendant with a panoply of health issues who pled guilty to embezzlement and tax

 evasion to one day of imprisonment and three years of supervised release.

          Defendant cannot challenge his sentence in the first instance on a § 2255 motion. It must

 first be challenged on direct appeal, which defendant has not done. See Massaro, 538 U.S. at

 504. To the extent defendant is precluded from challenging his sentence on direct appeal


 5
  Separately, defendant also agreed to waive “all defenses based on . . . venue with respect to any prosecution that is
 not time-barred on the date that [the plea agreement] is signed in the event that . . . defendant violates [the plea
 agreement.”

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 because he waived that right in his plea agreement, defendant must accept the consequences of

 that decision.

           Because none of the arguments that defendant raises in his § 2255 motion have merit, the

 motion is denied.

    III.      Motion for Alternative Relief
           Defendant has also moved for alternative relief under either the Declaratory Judgment

 Act or Federal Rules of Criminal Procedure 33(a) and (b)(1). The bases for his motion are that a

 federal agent gave false testimony during plaintiff’s bond revocation hearing, that the

 Government blackmailed defendant’s ex-wife into giving false statements about him, and that

 the Government defrauded the Court by making false representations about the BOP’s ability to

 care for defendant while he was incarcerated. This motion raises some of the same grounds

 rejected above and recharacterization does not change the result.

                                           CONCLUSION
           Accordingly, defendant’s amended motion for habeas corpus relief [186, 195, 201], his

 motion for alternative relief [209], and his recusal motion [217] are DENIED.

           The Court certifies pursuant to 28 U.S.C. § 1915(a)(3) that any appeal from this order

 would not be taken in good faith and therefore in forma pauperis status is denied for purpose of

 an appeal. See Coppedge v. United States, 369 U.S. 438, 444-45 (1962).

  SO ORDERED.




  Dated: Brooklyn, New York                                          U.S.D.J.
         April 17, 2019




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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

    HOWARD E. LEVENTHAL,

                                     Plaintiff,

                        -against-

    WINSTON M. PAES, MARY A.                                    MEMORANDUM
    HANDELAND, LORETTA LYNCH,                                   DECISION AND ORDER
    CHRISTOPHER DELZOTTO, LORRAINE
    MARX, CHRISTINE KLOTZ, JANE                                 17 Civ. 2496 (BMC)
    PROBST, CHARLES COLODNY, GENE
    SCHENBERG, AMG THE FAMILY
    DOCTORS, and ADVOCATE MEDICAL
    GROUP,

                                     Defendants.

COGAN, District Judge.

         Plaintiff Howard Leventhal, currently incarcerated in the Federal Correctional Institute in

Pekin, Illinois, brings this pro se action pursuant to “the Constitution of the United States, the

Bill of Rights, the 1st, 5th, 8th and 14th Amendments, 1 the Parental Kidnapping Prevention Act

and Uniform Child Custody Jurisdiction Act (28 U.S.C. [§] 1738A), 28 U.S.C. [§] 1367, the

Intercountry Adoption Act (42 U.S.C. [§] 14901), Bivens v. Six Unknown Named Agents [of

Fed. Bureau of Narcotics, 403 U.S. 388 (1971)], Illinois State Law, Common Law of Torts[,] and

other applicable law.” The Court grants plaintiff’s request to proceed in forma pauperis pursuant

to 28 U.S.C. § 1915 for the purpose of this Order and dismisses the complaint for the following

reasons.




1
 Although Leventhal does not list 42 U.S.C. § 1983 by statute, his constitutional claims necessarily implicate
§ 1983 as it is the vehicle by which litigants vindicate their constitutional claims.
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                                         BACKGROUND

       In October 2013, the United States Attorney for the Eastern District of New York, acting

through Assistant U.S. Attorney (“AUSA”) Winston Paes, the first-named defendant in this

action, unsealed a criminal complaint against Leventhal, charging him with wire fraud, in

violation of 18 U.S.C. § 1343, and aggravated identity theft, in violation of 18 U.S.C.

§§ 1028A(a)(1), 1028A(b), and 1028(c)(5).

       The complaint alleged that Leventhal, as the president or managing officer of several

entities, including mHealth Technologies Corp., formerly named Neovision USA, Inc. and

Heltheo, Inc., entered into certain financing agreements with investors on the basis of false

information, namely that his company had entered into a lucrative agreement with Health

Canada, the department of the Canadian government with responsibility for national public

health. To further his fraud, Leventhal provided the investors with a fraudulent agreement

between his company and Health Canada and fabricated bank statements showing millions of

dollars in transactions and payments from Health Canada.

       In December 2013, Leventhal pleaded guilty to both counts. Leventhal was released on

bail and subject to supervision in Chicago. On further investigation by the Government and after

a hearing in September 2015, the Court revoked Leventhal’s bail. The Government established

at the hearing that Leventhal, while out on bail and through an alias, had created a purported

non-profit entity, altered letters from elected officials, and used those letters to induce an investor

to invest tens of thousands of dollars, much of which were used for personal expenses.

       For a host of reasons, including the bail revocation and Leventhal’s decisions to proceed

counseled at times and pro se at others, Leventhal was not sentenced until December 2016, at

which time the Court sentenced him to a total of five years in federal custody. Now as a federal



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prisoner, he brings this lawsuit, principally against the AUSA that prosecuted him, in addition to

several other defendants, alleging a mass of charges.

                                           DISCUSSION

       The Prison Litigation Reform Act (the “PLRA”) requires a district court to screen a civil

complaint brought by a prisoner against a governmental entity or its agents and dismiss the

complaint, or any portion of the complaint, if the complaint is “frivolous, malicious, or fails to

state a claim upon which relief may be granted.” 28 U.S.C. § 1915A(b)(1); see also Liner v.

Goord, 196 F.3d 132, 134 & n.1 (2d Cir. 1999) (noting that, under the PLRA, sua sponte

dismissal of frivolous prisoner complaints is not only permitted but in fact mandatory).

Similarly, pursuant to the in forma pauperis statute, the Court must dismiss an action if it

determines that it “(i) is frivolous or malicious, (ii) fails to state a claim upon which relief may

be granted, or (iii) seeks monetary relief from a defendant who is immune from such relief.” 28

U.S.C. § 1915(e)(2)(B).

       A complaint must plead “enough facts to state a claim to relief that is plausible on its

face,” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007), and “allow[] the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009). “[A] pro se complaint, however inartfully pleaded, must be

held to less stringent standards than formal pleadings drafted by lawyers.” Erickson v. Pardus,

551 U.S. 89, 94 (2007) (internal quotation marks and citations omitted); see also Harris v. Mills,

572 F.3d 66, 72 (2d Cir. 2009). Thus, pro se complaints are “to be liberally construed,” Ahlers v.

Rabinowitz, 684 F.3d 53, 60 (2d Cir. 2012), and interpreted “to raise the strongest arguments that

they suggest,” Graham v. Henderson, 89 F.3d 75, 79 (2d Cir. 1996).




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        Plaintiff brings this action pursuant to several statutes and laws, alleging (i) the

unconstitutional denial of his right to intimate association with his adopted daughter;

(ii) deliberate indifference to his health, life, and safety; (iii) denial of due process; (iv) denial of

his right to privacy; (v) defamation; (vi) fraud; (vii) breach of contract; (viii) tortious

interference; and (ix) intentional infliction of emotional distress. In addition to the AUSA who

prosecuted him, Leventhal names as defendants the lead FBI agent who investigated him, the

former Attorney General, Leventhal’s ex-wife, his ex-wife’s mother and sister, his former

physician, and a band of characters who had the misfortune of knowing Leventhal and getting on

his bad side during the course of the criminal prosecution.

        Not only is the complaint frivolous on its face, but it is also a transparent attempt to

harass a wide variety of people, including individuals who have had to defend against

Leventhal’s abuse of the legal process in the past, including his ex-wife. In essence, the

complaint and Leventhal’s affidavit allege that the AUSA, in conspiracy with the other

defendants, orchestrated the above-named deprivations of Leventhal’s rights. In addition, he

seeks a court order modifying and enforcing his visitation rights with his adopted daughter.

        The details underpinning his frivolous conspiracy legal theory is nothing more than

Leventhal’s petty and irrational fury at the federal prosecutor who convicted him. But such

resentment cannot make up the basis of a claim alleging prosecutorial misconduct. It is well

established that a prosecutor acting “within the scope of his duties in initiating and pursuing a

criminal prosecution is immune from a civil suit for damages under § 1983.” Shmueli v. City of

New York, 424 F.3d 231, 236 (2d Cir. 2005) (internal quotations omitted). “Prosecutorial

immunity from § 1983 liability is broadly defined, covering virtually all acts, regardless of

motivation, associated with [the prosecutor’s] function as an advocate.” Hill v. City of New



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York, 45 F.3d 653, 661 (2d Cir. 1995) (internal quotations omitted). “A prosecutor is . . . entitled

to absolute immunity despite allegations of his knowing use of perjured testimony’ and the

‘deliberate withholding of exculpatory information,” because “[a]lthough such conduct would be

reprehensible, it does not make the prosecutor amenable to a civil suit for damages.” Shmueli,

424 F.3d at 237 (internal quotation marks omitted). Further, absolute immunity for prosecutorial

acts can be defeated only if the prosecutor is alleged to have acted in the complete absence of

jurisdiction, which is not the case here. Shmueli, 424 F.3d at 237.

       The Supreme Court, in finding that prosecutorial immunity is absolute, reasoned that

“suits against prosecutors for initiating and conducting prosecutions could be expected with

some frequency, for a defendant often will transform his resentment at being prosecuted into the

ascription of improper and malicious actions.” Burns v. Reed, 500 U.S. 478, 485 (1991)

(internal quotation marks omitted). This is exactly what has happened here. Leventhal has

funneled his resentment at getting caught, prosecuted, and convicted against the AUSA, without

regard to the facts that Leventhal pleaded guilty and even recognizes in his complaint (and at

sentencing) that he broke the law. Nowhere is Leventhal’s resentment more clear than in his

complaint where, in the same breath, he compares the massacre of indigenous Americans and

slavery as national mistakes “competing for top billing” with the decisions permitting the AUSA

to emigrate to the United States from South Asia, naturalize, get his law license, and become an

AUSA. The Court will not permit Leventhal to harass the prosecutor, the former Attorney

General, and the FBI agent who simply did their jobs. Prosecutorial immunity protects the first

two and qualified immunity, at a minimum, protects the FBI agent.

       Nor will the Court permit Leventhal to sue the witnesses against him, whether they bore

witness through their sentencing submissions, affidavits to the Court, or during hearings. See



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Rehberg v. Paulk, 566 U.S. 356, 367 (2012) (“[A] trial witness has absolute immunity with

respect to any claim based on the witness’[s] testimony.”).

       Once the Court excises those allegations relating to Leventhal’s sprawling prosecutorial

misconduct conspiracy, which are dismissed as baseless, frivolous, or barred by some form of

immunity, the remainder of the complaint relates to his custody battle with his ex-wife, which is

also dismissed. No matter how many inapplicable statutes Leventhal can marshal that touch on

adoption or children, the “domestic relations exception . . . divests the federal courts of power to

issue divorce, alimony, and child custody decrees.” Elk Grove Unified Sch. Dist. v. Newdow,

542 U.S. 1, 12 (2004), abrogated on other grounds by Lexmark Int’l, Inc. v. Static Control

Components, Inc., 134 S. Ct. 1377 (2014). And while there may be “rare instances . . . in which

it is necessary to answer a substantial federal question that transcends or exists apart from the

family law issue,” this is not one of those cases. Id. at 13. This case is just another attempt by

Leventhal to re-litigate a child custody order, with Leventhal seeking a “permanent order

enforcing and mandating the visitation and communication provisions under [the custody dispute

action], modified to suit [Leventhal’s] current status as a prison inmate,” in addition to family

counseling sessions with his daughter. The Court will not do that.

                                         CONCLUSION

       Accordingly, the complaint, filed in forma pauperis, is dismissed for failure to state a

claim. See 28 U.S.C. §§ 1915A(b), 1915(e)(2)(B). The Court has considered whether to grant

plaintiff further leave to amend his complaint and determines that amendment here would be

futile. See, e.g., Cuoco v. Moritsugu, 222 F.3d 99, 112 (2d Cir. 2000) (finding leave to replead

futile where the complaint, even when read liberally, did not “suggest[] that the plaintiff has a

claim that she has inadequately or inartfully pleaded and that she should therefore be given a

chance to reframe”).

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       The Clerk is directed to enter judgment, dismissing the complaint. The Court certifies

pursuant to 28 U.S.C. § 1915(a)(3) that any appeal from this Order would not be taken in good

faith, and therefore in forma pauperis status is denied for purpose of an appeal. See Coppedge v.

United States, 369 U.S. 438, 444-45 (1962).

SO ORDERED.




                                                                  U.S.D.J.
 Dated:   May 9, 2017
          Brooklyn, New York




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                                                                                      E.D.N.Y.-Bklyn
                                                                                          17-cv-2496
                                                                                            Cogan, J.

                           United States Court of Appeals
                                               FOR THE
                                        SECOND CIRCUIT
                                        _________________

              At a stated term of the United States Court of Appeals for the Second
Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
in the City of New York, on the 6th day of November, two thousand seventeen.

Present:
               Gerard E. Lynch,
               Susan L. Carney,
                     Circuit Judges,
               Eric N. Vitaliano,*
                     District Judge.

Howard E. Leventhal,

                                Plaintiff-Appellant,

               v.                                                           17-1670

Winston M. Paes, et al.,

                                Defendant-Appellees.


Appellant, pro se, moves for leave to proceed in forma pauperis. Upon due consideration, it is
hereby ORDERED that the motion is DENIED and the appeal is DISMISSED because it “lacks
an arguable basis either in law or in fact.” Neitzke v. Williams, 490 U.S. 319, 325 (1989); see also
28 U.S.C. § 1915(e).
                                              FOR THE COURT:
                                              Catherine O’Hagan Wolfe, Clerk




* Judge Eric N. Vitaliano, of the United States District Court for the Eastern District of New
York, sitting by designation.
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                              United States District Court, Northern District of Illinois

     Name of Assigned Judge           Milton I. Shadur         Sitting Judge if Other
        or Magistrate Judge                                     than Assigned Judge

   CASE NUMBER                            09 C 1929                        DATE                       4/3/2009
            CASE                                      Howard Leventhal vs. Mary Handeland
            TITLE

  DOCKET ENTRY TEXT

  Enter Memorandum Opinion and Order. Accordingly, as 28 U.S.C. §1447( c) puts it, it plainly “appears that
  the district court lacks subject matter jurisdiction,” and the case is ordered remanded to the state court system
  pursuant to that statutory provision. It is further ordered that the certified coy of the remand order shall be
  mailed forthwith by the Clerk of this District Court.




  O [ For further detail see separate order(s).]                                                              Docketing to mail notices.




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AO 450(Rev. 5/85)Judgment in a Civil Case


                             United States District Court
                                    Northern District of Illinois
                                            Eastern Division



 Leventhal                                                 JUDGMENT IN A CIVIL CASE
                      v.                                              Case Number: 08 C 7374
 Handeland

 G          Jury Verdict. This action came before the Court for a trial by jury. The issues have been
            tried and the jury rendered its verdict.
 O          Decision by Court. This action came to trial or hearing before the Court. The issues
            have been tried or heard and a decision has been rendered.



 IT IS HEREBY ORDERED AND ADJUDGED that judgment is entered dismissing this case
 for lack of subject matter jurisdiction.




                                                  Michael W. Dobbins, Clerk of Court


 Date: 1/20/2009                                  ________________________________
                                                  /s/ Olga Rouse, Deputy Clerk
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               GOVERNMENT
                      EXHIBIT 7
Case: 1:13-cr-00844 Document #: 46-1 Filed: 01/04/21 Page 109 of 118 PageID #:878
Case: 1:13-cr-00844 Document #: 46-1 Filed: 01/04/21 Page 110 of 118 PageID #:879
              Case1:13-cr-00844
            Case:  2019CV000221 Document
                                  Document#:1746-1 Filed:
                                                    Filed 06-21-2019     Pageof3118
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           6. The respondent to avoid contacting the petitioner or causing any person other than a party's attorney or law
              enforcement officer to contact the petitioner unless the petitioner consents in writing.

           7. The sheriff to accompany the petitioner and assist in placing the petitioner in physical possession of his/her
              residence, if requested.

           8. The wireless telephone service provider to transfer, within 72 hours of receipt of the order, to the petitioner
              each telephone number(s) he/she or a minor child in his/her custody uses. 6HH :LUHOHVV 7HOHSKRQH
              6HUYLFH 7UDQVIHU 2UGHU LQ ,QMXQFWLRQ &DVH &9 IRUP IRU PRUH GHWDLOV

           9. Other: [List specific prohibited conduct or conduct that is substantially similar to that noted in the Petition.]
              7KH 5HVSRQGHQW KDV XVHG H[FHVVLYH OLWLJWLRQ WR KDUUDVV DQG IRU QR OHJLWLPDWH SXUSRVH ,Q :LVFRQVLQ WKH 5HVSRQGHQW VKDOO
              QRW FRPPHQFH OLWLJDWLRQ FRQFHUQLQJ WKH 3HWLWLRQHU ZLWKRXW FRQVHQW RI WKH &RXUW ,Q RWKHU MXULVGLFWLRQV WKH 5HVSRQGHQW
              VKDOO SURYLGH D FRS\ RI WKLV ,QMXQFWLRQ WR WKH &RXUW DW WKH WLPH RI FRPPHQFHPHQW ZKHQ WKH OLWLJDWLRQ FRQFHUQV WKH
              3HWLWLRQHU 7KH 5HSRQGHQW KDV XVHG D %ORJ DQG D :HE3DJH WKDW LV DWWDFKHG WR WKH 3HWLWLRQ IRU WKH SXUSRVH RI KDUUDVLQJ WKH
              3HWLWLRQHU DQG IRU QR OHJLWLPDWH SXUSRVH :LWKLQ  GD\V RI WKLV RUGHU WKH 5HVSRQGHQW VKDOO WDNH GRZQ WKH :HE 3DJH DQG
              WKH %ORJ WKDW LV DWWDFKHG WR WKH 3HWLWLRQ +H VKDOO QRW XVH WKH LQWHUQHW RU VRFLDO PHGLD WR KDUUDVV WKH 3HWLWLRQHU

     7+( &2857 )857+(5 25'(56
         [This order only applies if finding #4 above has been checked and the court has found by clear and convincing evidence that the respondent
          may use a firearm to cause physical harm to another or to endanger public safety.]

           1. The respondent is prohibited from possessing a firearm until the expiration of this injunction. Possession of a
              firearm is a Class G Felony punishable by a fine not to exceed $25,000 or imprisonment not to exceed 10
              years, or both. The respondent shall immediately surrender any firearm(s) that he or she owns or has in his or
              her possession to
                   the sheriff of this county.
                   the sheriff of the county in which the respondent resides:                                               .
                   another person [Name and Address]                                                                        .
                      1RWH Court shall complete the Notice of Firearms Possession Penalties (CV-432) form.

           2. The respondent shall surrender firearms pursuant to Order to Surrender Firearms and Notice of Firearm
              Surrender Hearing (CV-803) form.

           3. The respondent was not present in court and shall be served a copy of Notice of Firearm Surrender Hearing (CV-
              802) form.

  If a party wants a de novo review of a court commissioner’s decision, file a Motion for De Novo Hearing on a Temporary
  Restraining Order or Injunction, (CV-503) form. Any order entered by a circuit court commissioner remains in effect until
  the judge in the de novo hearing issues a final order.

          7+,6 ,6 $ ),1$/ 25'(5 )25 7+( 385326( 2) $33($/ ,) 6,*1(' %< $ &,5&8,7 &2857 -8'*(

 DISTRIBUTION:
 1. Court
 2. Petitioner
 3. Person filing on behalf of the petitioner
 4. Respondent
 5. Law Enforcement
 6. Other:




CV-407, 05/16 Injunction (Order of Protection - Harassment)                                                                  §813.125, Wisconsin Statutes
                                   7KLV IRUP VKDOO QRW EH PRGLILHG ,W PD\ EH VXSSOHPHQWHG ZLWK DGGLWLRQDO PDWHULDO
                                                                       Page 3 of 3
Case: 1:13-cr-00844 Document #: 46-1 Filed: 01/04/21 Page 112 of 118 PageID #:881




         GOVERNMENT
                EXHIBIT 8
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   Case:
Case:    1:13-cr-00844
      1:13-cr-00844    Document
                    Document     #: 41Filed:
                             #: 46-1   Filed:01/04/21
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                                                       Page114
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                                                                    PageID #:574
                                                                       PageID #:883

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

 UNITED STATES OF AMERICA
                                           Plaintiff,
 v.                                                        Case No.: 1:13−cr−00844
                                                           Honorable Andrea R. Wood
 Howard Leventhal
                                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



 This docket entry was made by the Clerk on Thursday, December 3, 2020:


         MINUTE entry before the Honorable Andrea R. Wood as to Howard Leventhal:
 Defendant's second motion for early termination of supervised release under 18 U.S.C. §
 3583(e)(1) [35] is granted as unopposed. Consistent with 18 U.S.C. § 3583(e), the Court
 has considered the factors in 18 U.S.C. § 3553(a) and finds that his conduct and the
 interests of justice warrant early termination of Defendant Leventhal's supervised release.
 Accordingly, with no objections from the U.S. Attorney's Office or the U.S. Probation
 Department, the imposed term of supervised release as to Defendant Levanthal is hereby
 terminated and he is discharged. Status and motion hearing set for 12/4/2020 is stricken;
 parties need not appear. Mailed notice (dal, )




 ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
 Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
 generated by CM/ECF, the automated docketing system used to maintain the civil and
 criminal dockets of this District. If a minute order or other document is enclosed, please
 refer to it for additional information.
 For scheduled events, motion practices, recent opinions and other information, visit our
 web site at www.ilnd.uscourts.gov.
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           GOVERNMENT
                   EXHIBIT 9
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Case: 1:13-cr-00844 Document #: 46-1 Filed: 01/04/21 Page 117 of 118 PageID #:886




                     GOVERNMENT
                           EXHIBIT 10
Mail - What could you possibly have to iose by talking to your father?
                     Case: 1:13-cr-00844 Document #: 46-1 Filed: 01/04/21 Page 118 of 118 PageID #:8871/1/21, 22:09




 What could you possibly have to lose by talking to your father?

 emily.chang98 <emily.chang98@protonmail.com>                                                                 Fri, Jan 1, 2021 at 4:55 PM
 Reply-To: "emily.chang98" <emily.chang98@protonmail.com>
 To:


    Amelia:

    What would you have to lose by talking to yom father? The viewpoint you have today was formed entirely by others,
    for your consumption. Have you asked yourself why it is so important to them to comp!ete!y isolate you from him?
    Who exactly are they protecting? T hemselves, not you.

    If you can find some way to spend a little time with him, the outcome might well be that your mother's life gets a lot
    less complicated and yours gets a lot more promising. And if not? What can you possibly lose by spending a few
    hours with him? The idea that he is some kind of threat to you is nonsense.

    Think about this.

         A Friend



    Sent with ProtonMail Secure Email.




https://mail.google.com/mail/u/2?ik=b55c865846&view=pt&search= ... read-f%3A1687726817364274936&simpl=msg-f%3A1687726817364274936   Page 1 of 1
